Case 3:23-cr-00014-DJH Document 28-2 Filed 03/27/23 Page 1 of 4 PagelD #: 255

‘Agency Name INCIDENT/INVESTIGATION Caseh
A : . 2018-001240
{pex Police Department REPORT Tae ine Repo
I jor 04/24/2018 18:32 _ Tue
N NCO0920200 Last Known Secure
° Location of Incident Premise Type Zone/Tract rong 8. 00:00 Sun.
D Apex NC 27502- Home Of Victim 3 04/24/2018 15:00 Tue |
E #1 Crime Incident(s) (Com) | Weapon/ Tools | Activity
N j lis
t Harassing Phone Cai Entry Ent Security
HARASSING PHONE CALLS M | |
7 49 Crime Incident ( ).| Weapon / Tools | Activity
t Entry | Exit Security
43 Crime Incident ( ) | Weapon/ Tools | Achivity
Entry Exit j Sescity
MO
#ofVictims J | Type; INDIVIDUAL/ NOT LAW Injury: Domestic: N
Victim/Business Name (Last, First, Middle) Victim of DOB Race} Sex| Relationship | Resident Status | Military
Vv | Vi |GLASS, ELIZABETH HEATHER Crime # To Offender Branch/Status
I L, WLF Resident
C | Home Address Home Phi
t Apex NC 27502-
M Employer Name/Address Business Phone Mobile Phone |
VYR- | Make Model Style Color Lic/Lis VIN
CODES: V- Victim (Denote V2, V3) O = Owner (if other than victim) R= Reporting Person (if other than victim)
o | Type: Injury:
Name (Last, First, Middic Victim of DOB Race | Sex| Relationship | Resident Status] Milit
z Cogs u ) Crime # To Offender BranclyStatus
E Age
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Employer Name/Address Business Phone Mobile Phone
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N Type: Injury:
V Code | Name (Last, First, Middle) Victim of DOB Race | Sex| Relationship | Resident Status} — Military
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¥ Age
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D
Employer Name/Address ‘Business Phone Mobile Phone
1=None 2=Bumed 3=Counterfeit/Forged 4=Damaged/ Vandalized 7=Stolen 6=Scized 5=Recovered 8=Unknown
"OJ" = Recovered for Other Jurisdiction)
} Code pas Yalue OF {QTY Property Description Make/Model Serial Number
P
R
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E
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T
Y
Officer/ID#t CORBETT, C.S. (6691)
Invest ID# CORBETT. C. S. (6691) Supervisor KUTCHER, M. S. (8213)
C inant Signat Case Status Case Disposition:
Status | Complainant Signetire Exceplionally Cleared 04/25/2018|  Eo-vtctim Refused To 04/25/2018 | Page!
R_CS1IBR Printed By: XAVALOS, Sys#: 50548 11/29/2018 12:24

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Apex Police Department

INCIDENT/INVESTIGATION REPORT

| Case# 2018-001240
Stalls” }=None 2=Bumed 3=Co 4=Damaged / Vandalized 5=Recovered 6=Seized 7=Stolen 8= Unknown
Codes aa ee “A é Sat PERE
IBR.| Status Quatitity Suspected Type Up to 3 types of activity

D
R
U
G
5

Assisting Officers

Suspect Hate / Bias Motivated:

NARRATIVE
RCS2TER By: XAVALOS, 11/29/2018-12:24 Page 2

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REPORTING OFFICER NARRATIVE

OCA
Apex Police Department 2018-001240
Vietin Offense Date/Time Reported
GLASS, ELIZABETH HEATHER HARASSING PHONE CALLS Tue 04/24/2018 18:32

THE INFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Synopsis: I, Officer Corbett with the Apex Police Department, was on duty and in uniform operating my marked

patrol car in the city of Apex on Tuesday, 04-24-2017. I responded to a report of Harassment at
7

Investigation Notes: On Tuesday, 04-24-2017 at 1832 hours L responded to the Apex Police Department in reference
to harassment. Upon arrival J spoke with the caller, Elizabeth glass, who stated she was having issues with a man she
had just met. The male was identified only as Bryan Conley. Elizabeth stated that she had met Bryan on an online
game and began speaking with him. In late March 2018 Elizabeth stated that her and Bryan met up and had sexual
relations. Elizabeth learned that Bryan was in the military and lived in Tennessee.

After Bryan left North Carolina Elizabeth has been receiving numerous messages from Bryan. Elizabeth stated that
none of the messages are threatening. Elizabeth stated that Bryan has been messaging her since March 25th.
Elizabeth has told Bryan to stop messaging her but also has been messaging him back as well. Elizabeth also stated
that Bryan was using different numbers to contact her. Elizabeth just wanted the incident reported, but no
prosecution at this time.

Ladvised Elizabeth to contact her phone provider to block all contact from Bryan, as well as a no contact order,

Disposition:Closed.

Reporting Officer: CORBETT, C. S. Printed By: KAVALOS, 1129/2018 12:24 Page 3
R_CSaNC

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Incident Report Additional Suspect List

OCA: 2018-001240

R_CSBNC

Apex Police Department
Additional Suspect List Page 3
Name (Last, First, Middle) Also Known As Home Address
Conley, Bryan
IN
Empl/Occu Business Address
§ DOB. / Age Race | Sex |-Eth Het Wet Physical Char
U | LW iM
§ Sears, Marks, Tattoos, or other distinguishing features
E
C
T | Type of Weapon
Dir of Travel Mode of Travel
Vel ¥r/Make/Model Style Color Lie/Lis Vin
XAVALOS

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